Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 1 of 28 Page ID
                                  #:2246


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  8
  9
 10
 11
                          UNITED STATES DISTRICT COURT
 12
                        CENTRAL DISTRICT OF CALIFORNIA
 13
 14
 15   LINDA RUBENSTEIN, on behalf of           Case No. 2:14-CV-07155-SJO-JPR
      herself and all others similarly
 16   situated,                                PLAINTIFF’S MEMORANDUM OF
                                               POINTS AND AUTHORITIES IN
 17                     Plaintiffs,            SUPPORT OF MOTION FOR FINAL
                                               APPROVAL OF CLASS ACTION
 18         v.                                 SETTLEMENT
 19   THE NEIMAN MARCUS GROUP                  Assigned to the Hon. S. James Otero
      LLC, a Delaware Limited Liability
 20   Company, and DOES 1-50, inclusive,       Date: Oct. 1, 2018
                                               Time: 10:00 a.m.
 21                     Defendants.            Courtroom: 10C
 22
 23
 24
 25
 26
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                                               i
Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 2 of 28 Page ID
                                  #:2247



  1                                                   TABLE OF CONTENTS
  2
  3   Contents

  4
      I.     INTRODUCTION.................................................................................................................... 1
  5
  6   II.      HISTORY OF THE LITIGATION ...................................................................................... 3
  7
  8   A. Background .............................................................................................................................. 3

  9   B. Procedural History.................................................................................................................... 3
 10
 11   C. The Settlement Process ............................................................................................................ 4

 12
      III.     THE PROPOSED TERMS OF THE SETTLEMENT ......................................................... 5
 13
 14   A. The Settlement Class ................................................................................................................ 5
 15
      B. Monetary Consideration: a $2,900,000 Settlement Payment ................................................... 5
 16
 17   C. Injunctive Relief ....................................................................................................................... 6
 18
      D. Dissemination of Notice to the Settlement Class ..................................................................... 6
 19
 20   E. Service Award And Attorneys’ Fees And Expenses ................................................................ 6
 21
      F. Release, Judgment and Continuing Jurisdiction ...................................................................... 6
 22
 23   IV.      ARGUMENT ........................................................................................................................ 7
 24
 25   A. General Final Approval Standards ........................................................................................... 7

 26   B. The Settlement is Fair, Reasonable and Adequate ..................................................................... 8
 27        1. Counsel Fairly and Honestly Negotiated the Settlement ...................................................... 8
 28
                                                                            i
Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 3 of 28 Page ID
                                  #:2248



  1     2. The Parties Negotiated with Full Knowledge of the Strengths and Weaknesses of the

  2           Case ....................................................................................................................................... 9

  3     3. Strength of Plaintiff’s Case ................................................................................................. 10

  4     4. The Risk of Maintaining a Class Action Throughout Trial ................................................ 11

  5     5. The Value of Immediate Recovery Outweighs the Mere Possibility of Future Relief ....... 11

  6     6. The Amount Offered in Settlement..................................................................................... 14

  7     7. The Experience and Views of Counsel ............................................................................... 15

  8     8. The Presence of a Governmental Participant ...................................................................... 16

  9     9. The Reaction of the Class ................................................................................................... 16

 10     10.      Review For Collusion Or Other Conflicts Of Interest ..................................................... 19

 11     11.      Review Of Potential Cy Pres Distribution ....................................................................... 20

 12
      V.      CONCLUSION ................................................................................................................... 20
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                               ii
Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 4 of 28 Page ID
                                  #:2249



  1                                       TABLE OF AUTHORITIES
  2   Cases
  3
      Austin v. Pa. Dep’t of Corrections,
  4    876 F. Supp. 1437 (E.D. Pa. 1995) ....................................................................... 16
  5   Briseno v. Conagra Foods, Inc.,
  6    844 F.3d 1121 (9th Cir. 2017) ................................................................................ 6

  7   Caldera v. J.M. Smucker Co.,
       2014 WL 1477400 (C.D. Cal. Apr. 15, 2014) ...................................................... 13
  8
  9   Churchill Vill., L.L.C. v. Gen. Elec.,
       361 F.3d 566 (9th Cir.2004) ....................................................................... 8, 17, 18
 10
      City of Detroit v. Grinnell Corp.,
 11
       495 F.2d 448 (2d Cir. 1974) ................................................................................... 9
 12
      Dennis v. Kellogg Co.,
 13    697 F.3d 858 (9th Cir. 2012) .......................................................................... 19, 20
 14
      Gen. Tel. Co. of Sw. v. Falcon,
 15    457 U.S. 147 (1982).............................................................................................. 11
 16   Hanlon v. Chrysler Corp.,
 17    150 F.3d 1011 (9th Cir. 1998) .................................................................... 7, 14, 16
 18   In re Bluetooth Headset Products Liab. Litig.,
 19     654 F.3d 935 (9th Cir. 2011) ............................................................................ 8, 19

 20   In re Mego Financial Corp. Sec. Litig.,
        213 F.3d 454 (9th Cir. 2000) .......................................................................... 12, 14
 21
 22   In re Orthopedic Bone Screw Prods. Liab.Litig.,
        176 F.R.D. 158 (E.D. Pa. 1997)............................................................................ 16
 23
      In re Pacific Enters. Sec. Litig.,
 24     47 F.3d 373 (9th Cir. 1995) .................................................................................. 15
 25
      In re Warner Communications Sec. Litig.,
 26     618 F. Supp. 735 (S.D.N.Y. 1985) ............................................................... 8, 9, 10
 27
 28
                                                               iii
Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 5 of 28 Page ID
                                  #:2250



  1   Linney v. Cellular Alaska P’ship,
        151 F.3d 1234 (9th Cir. 1998) .............................................................................. 14
  2
      Linney v. Cellular Alaska P’ship, C-96-3008 DLJ,
  3     1997 WL 450064 (N.D. Cal. July 18, 1997) ........................................................ 15
  4
      McDonald v. Chicago Milwaukee Corp.,
  5    565 F.2d 416 (7th Cir. 1977) .................................................................................. 8
  6   Nachshin v. AOL, LLC,
  7    663 F.3d 1034 (9th Cir. 2011) .............................................................................. 20
  8   Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc.,
  9    221 F.R.D. 523 (C.D. Cal. 2004) .............................................................. 11, 12, 15

 10   Officers for Justice v. Civil Service Comm’n of the City and County of San
       Francisco, 688 F.2d 615 (9th Cir. 1982) ...................................................... 7, 8, 14
 11
 12   Oppenlander v. Standard Oil Co.,
       64 F.R.D. 597 (D.Colo. 1974) .............................................................................. 12
 13
      Paul, Johnson, Alston & Hunt v. Graulty,
 14    886 F.2d 268 (9th Cir. 1989) ................................................................................ 19
 15
      Rodriguez v. West Publ’g Corp.,
 16    563 F.3d 948 (9th Cir. 2009) .......................................................... 7, 10, 11, 16, 17
 17
      Rubenstein v. Neiman Marcus Grp, LLC,
 18    687 F. App’x 564 (9th Cir. 2017) ........................................................................... 4
 19   Russel v. Kohl’s Dep’t Stores, Inc.,
 20    2015 WL 12748629 (C.D. Cal. Dec. 4, 2015) ...................................................... 13

 21   Satchell v. Fed. Exp. Corp., No. C,
       03-2659 SI, 2007 WL 1114010 (N.D. Cal. Apr. 13, 2007) .................................. 20
 22
 23   Van Bronkhorst v. Safeco Corp.,
       529 F.2d 943 (9th Cir. 1976) .................................................................................. 7
 24
      Vizcaino v. Microsoft Corp.,
 25
       290 F.3d 1043 (9th Cir. 2002) .............................................................................. 19
 26
      Weinberger v. Kendrick,
 27    698 F.2d 61 (2d Cir. 1982) ..................................................................................... 8
 28
                                                              iv
Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 6 of 28 Page ID
                                  #:2251


      Rules
  1
  2   Fed. R. Civ. P. 23(e)(2) ............................................................................................. 7

  3   FRCP 23(b)(2) and (3) ............................................................................................... 5
  4   FRCP 30(b)(6) ........................................................................................................... 4
  5
      FRCP Rule 23 ............................................................................................................ 3
  6
      FRCP Rule 23(e)........................................................................................................ 1
  7
      Other Authorities
  8
  9   A CONTE & H. NEWBERG, NEWBERG ON CLASS ACTIONS, § 11:50 at 155 (4th ed.
       2002) ..................................................................................................................... 11
 10
      ALBA CONTE & HERBERT NEWBERG, NEWBERG ON CLASS ACTIONS § 11.40 at 451
 11    (2d ed. 1985) ........................................................................................................... 8
 12
      ALBA CONTE & HERBERT NEWBERG, NEWBERG ON CLASS ACTIONS § 11.41 (4th ed.
 13    2002) ....................................................................................................................... 7
 14   Manual for Complex Litigation (Fourth) § 21.62 ................................................... 11
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                     v
Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 7 of 28 Page ID
                                  #:2252



  1   I.    INTRODUCTION
  2         Pursuant to FRCP Rule 23(e), plaintiff Linda Rubenstein (“Plaintiff”)
  3   respectfully requests this Court grant final approval of the proposed settlement
  4   (“Settlement”) reached in this action between herself, on behalf of the Settlement
  5   Class, and defendant The Neiman Marcus Group LLC (“Defendant” or “Neiman”).
  6         After extensive negotiations and the benefit of Plaintiff’s Counsel’s
  7   prosecution efforts over four years, Plaintiff and Defendant entered into the
  8   Settlement Agreement1. Under the Settlement’s terms, a settlement fund comprised
  9   of the Gross Settlement Amount of $2,900,000 in cash was created for the benefit
 10   of the Settlement Class, and Neiman agreed to injunctive relief.
 11         On May 21, 2018, the Court granted preliminary approval of the Settlement,
 12   and approved notice dissemination to the Settlement Class, setting a final approval
 13   hearing date of October 1, 2018. (D.E. 114) The Claims Administrator has now
 14   implemented the Court-approved notice procedure. (See Andrew W. Oxenreiter
 15   Declaration (“Oxenreiter Decl.”)) The direct notice reached more than 92% of
 16   Known Settlement Class Members, and the supplemental notice for Unknown
 17   Settlement Class Members reached an estimated 80% of its target audience
 18   (855,000 individuals determined to have shopped at Last Call during the Class
 19   Period or have similar attributes to such shoppers), thus satisfying due process.
 20   (See Oxenreiter Decl., ¶24)
 21         This Settlement provides a meaningful recovery in the face of significant
 22   risks of litigation, is fair, reasonable, adequate, and meets all relevant approval
 23   criteria. Class Counsel vigorously litigated the claims for almost four years before
 24   settlement. Class Counsel, who are highly skilled and experienced in consumer and
 25   complex litigation, engaged in substantial motion practice, including an appeal to
 26   the Ninth Circuit, and conducted significant discovery. Class Counsel acted
 27         1
              All capitalized terms used herein shall have the same meanings as forth in
 28   the Settlement Agreement, at Docket Entry (“D.E.”) 111-3, Exhibit A.

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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 8 of 28 Page ID
                                  #:2253



  1   intelligently in the settlement negotiations, reaching the best possible relief for the
  2   Class.
  3            The Settlement was negotiated in good faith and at arms’ length by lawyers
  4   thoroughly familiar with the merits and risks associated with continued litigation.
  5   Moreover, the Settlement’s fairness and adequacy is evidenced by the fact it was
  6   reached with the assistance of the Hon. Carl West (Ret.) (“Mediator”), a well-
  7   respected mediator and retired judge. Finally, out of more than 650,000 Settlement
  8   Class Members who received direct notice, and hundreds of thousands more
  9   estimated to have received supplemental notice, only four Settlement Class
 10   Members requested exclusion, and only one Settlement Class Member submitted
 11   an objection. (See Oxenreiter Decl., ¶29; Fields Decl., ¶ 23, Ex. B)
 12            Each Participating Settlement Class Member shall be entitled to recover
 13   from the Net Settlement Fund, which cannot be less than $1,592,425.59.2 The
 14   claims review process is ongoing, but the currently estimated recovery range for
 15   Settlement Class Members is between approximately $77.50 (for those that did not
 16   submit any proof of purchase) and $775.00 (for those that submitted $1,400 or
 17   more in proof of purchases). Neiman also agreed to significant injunctive relief
 18   regarding the challenged practices, subject to Court approval of the Settlement,
 19   which includes a transition to “Comparable Value” references on Last Call price
 20   tags in California and online, in place of “Compared to,” disclosures regarding the
 21   new term’s meaning, and training of employees. (See Frank Crisci Declaration
 22   (“Crisci Decl.”); Settlement Agreement §4)
 23
 24
 25            2
              The Net Settlement Fund is the Gross Settlement Amount of $2,900,000
 26   minus Claims Administrator Fees and Expenses (not to exceed $400,000), and
      minus awards the Court may grant Plaintiff and Class Counsel. The fees motion,
 27   filed and made available on the Settlement Website on August 6, 2018, sought fees
      not to exceed $870,000 plus costs of no more than $32,574.41, and a Settlement
 28   Class Representative Payment not to exceed $5,000. (D.E. 116)

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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 9 of 28 Page ID
                                  #:2254



  1   II.   HISTORY OF THE LITIGATION
  2          A.     Background
  3         In August 2014, Plaintiff brought this action pursuant to FRCP Rule 23 on
  4   behalf of herself and all others similarly situated, seeking to represent all California
  5   purchasers of products at Neiman’s Last Call stores or online labeled with a
  6   “Compared to” price, but which products were never sold at Neiman’s flagship
  7   retail stores at such “Compared to” price and/or such products or similar products
  8   were not being sold for such “Compared to” price at the time of purchase in the
  9   Last Call store’s area. (D.E. 69) Like all Settlement Class Members, Plaintiff
 10   purchased “Compared to”-labeled products at Last Call in California. (See id.)
 11          B.     Procedural History
 12         As more fully laid out in the Fields Declaration, Class Counsel, Kirtland &
 13   Packard LLP (“K&P”) began investigating Plaintiff’s claims against Neiman in
 14   July 2014 and filed Plaintiff’s original class action complaint in L.A. Superior
 15   Court. Neiman removed the action to this Court then moved to dismiss Plaintiff’s
 16   complaint, which Plaintiff opposed. K&P then prepared and filed a motion for
 17   class certification, to meet Local Rule 23-3’s deadline, which was later taken off
 18   calendar. On December 12, 2014, this Court dismissed Plaintiff’s complaint with
 19   leave to amend. Thereafter, K&P prepared and filed a first amended complaint
 20   (“FAC”), Neiman filed a motion to dismiss plaintiff’s FAC, which Plaintiff
 21   opposed, and on March 2, 2015, this Court dismissed Plaintiff’s FAC with leave to
 22   amend. K&P prepared and propounded written discovery to Neiman, and
 23   thereafter, prepared and filed a second amended complaint (“SAC”). Neiman filed
 24   a motion to dismiss plaintiff’s SAC, which Plaintiff opposed. K&P also reviewed
 25   Neiman’s written discovery responses and its document production, and prepared
 26   and filed a renewed class certification motion. Shortly thereafter, this Court
 27   dismissed Plaintiff’s SAC without leave to amend. (Fields Decl., ¶¶ 10-11)
 28
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 10 of 28 Page ID
                                   #:2255



   1         Plaintiff appealed the SAC’s dismissal to the Ninth Circuit. After full
   2   briefing and oral argument, the Ninth Circuit reversed the dismissal. See
   3   Rubenstein v. Neiman Marcus Grp, LLC, 687 F. App’x 564 (9th Cir. 2017).
   4         Thereafter K&P served and responded to additional written discovery,
   5   reviewed responsive documents produced by Neiman, and conducted investigation
   6   of the underlying claims. K&P also engaged in several lengthy meet and confer
   7   discussions with Neiman’s counsel regarding discovery. (Fields Decl., ¶¶ 12-13)
   8         On August 18, 2017, K&P sought leave to file Plaintiff’s third amended
   9   complaint (“TAC”), which was granted. The TAC was filed on September 11,
  10   2017. K&P also took FRCP 30(b)(6) depositions of Neiman on multiple topics,
  11   involving three separate witnesses in Dallas, Texas. On September 12, 2017, K&P
  12   filed Plaintiff’s second renewed class certification motion. K&P thereafter took
  13   and defended multiple depositions, including expert depositions. Plaintiff then filed
  14   her reply brief, and the class certification motion was taken under submission.
  15   (Fields Decl., ¶ 14)
  16          C.     The Settlement Process
  17         In or about June 2017, counsel for the Parties had begun discussing the
  18   scope of potential damages and whether a class action settlement was possible.
  19   Ultimately, Plaintiff and Neiman agreed to mediate the issues. The parties engaged
  20   in settlement discussions, which included numerous telephonic calls, exchanges of
  21   relevant information, submission of mediation briefs, and an in-person mediation
  22   session with the Mediator on August 4, 2017, which did not result in a settlement.
  23   After Plaintiff’s pending class certification motion was fully briefed on December
  24   4, 2017, the parties participated in a second in-person mediation session with the
  25   Mediator on December 7, 2017, with discussions ongoing thereafter. On December
  26   13, 2017, the parties agreed to preliminary settlement terms. After months
  27   negotiating final, detailed settlement terms, the parties fully executed the
  28   Settlement Agreement on April 18, 2018. (Fields Decl., ¶ 15)
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 11 of 28 Page ID
                                   #:2256



   1   III.   THE PROPOSED TERMS OF THE SETTLEMENT
   2          A.    The Settlement Class
   3          The Parties’ Settlement Agreement proposed certification of a Settlement
   4   Class pursuant to FRCP 23(b)(2) and (3) consisting of:
   5         All natural persons who purchased one of more products advertised
             with a “Compared to” price, where such purchase was made from
   6         August 7, 2010 through the date of the Preliminary Approval Order, at
   7         any of Neiman’s Last Call stores in California or on Last Call’s e-
             commerce website if the purchaser provided a California billing
   8         address.
   9
       (D.E. 111-3, Ex. A, Settlement Agreement at pp. 3, 5)3
  10
              B.    Monetary Consideration: a $2,900,000 Settlement Payment
  11
              The proposed Settlement Agreement provides for a Gross Settlement
  12
       Amount of $2,900,000. Participating Class Members are entitled to obtain payment
  13
       from the Net Settlement Fund, which cannot be less than $1,592,425.59.
  14
              The proposed Settlement provides proposed Settlement Class Members
  15
       substantial benefit: a cash payment to each qualifying participant from a portion of
  16
       the Net Settlement Fund. Each Authorized Claimant is assigned points to be
  17
       divided by the total points of all Authorized Claimants. The quotient is the
  18
       percentage of the Net Settlement Fund each Authorized Claimant will receive. One
  19
       point is given for filing a claim without proof of purchase, with additional points
  20
       available based upon the dollar value of Proof of Purchase provided.4 Essentially,
  21
       each Authorized Claimant receives a proportional share of the Net Settlement
  22
       Fund, based on whether any Proof of Purchase was submitted, and if so, the total
  23
       amount of purchases made at California Last Call Stores or online. No reversionary
  24
  25
  26          3
                The parties agreed to modify the Settlement Agreement so the Class Period
  27   ends on4
                 the Preliminary Approval Order date rather than upon Final Approval.
                Section 3.5(a) of the Settlement Agreement (at pages 11-12) details the
  28   point allocation and payment distribution processes. See D.E. 111-3, Ex. A.

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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 12 of 28 Page ID
                                   #:2257



   1   interest to Neiman exists as to any amount of the Gross Settlement Fund as the
   2   entire fund will be distributed to Authorized Claimants.5
   3         C.     Injunctive Relief
   4         As part of the Settlement, Neiman agreed to significant injunctive relief,
   5   subject to Court approval of the Settlement, involving modifying the challenged
   6   practices as fully detailed in the Crisci Declaration. (See Crisci Decl.; Settlement
   7   Agreement § 4)
   8         D.     Dissemination of Notice to the Settlement Class
   9         Direct notice reached an estimated more than 92% of Known Settlement
  10   Class Members, and supplemental notice for Unknown Settlement Class Members
  11   reached an estimated 80% of the target audience (855,000 individuals determined
  12   to have shopped at Last Call during the Class Period or have similar attributes to
  13   such shoppers), exceeding the due process requirements generally accepted in the
  14   Ninth Circuit. See, e.g. Briseno v. Conagra Foods, Inc., 844 F.3d 1121, 1128-29
  15   (9th Cir. 2017); Oxenreiter Decl., ¶ 24)
  16         E.     Service Award And Attorneys’ Fees And Expenses
  17         By separate motion, Class Counsel applied for a Service Award for Plaintiff
  18   consisting of a $5,000 payment. (See Rubenstein Declaration in Support of
  19   Plaintiff’s Motion for Award of Attorney’s Fees (D.E. 116-6; “Rubenstein
  20   Decl.”)). Class Counsel also applied separately for: (1) an award of attorney’s fees
  21   of 30% of the Gross Settlement Amount, and (2) reimbursement of litigation
  22   expenses in the amount of $32,574.41. (See D.E. 116)
  23         F.     Release, Judgment and Continuing Jurisdiction
  24         If final approval is granted, Settlement Class Members who have not opted-
  25
             5
  26           As of August 20, 2018, the Claims Administrator had received 10,845
       timely Claim Form submissions, and the claims review process is ongoing.
  27   (Oxenreiter Decl., ¶ 28) Plaintiff will provide exact information regarding the
       number of Claimants and average and median awards for Participating Settlement
  28   Class Members, in supplemental briefing at the time her reply papers are due.

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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 13 of 28 Page ID
                                   #:2258



   1   out will be deemed to have released Defendant of all claims asserted or that could
   2   have been asserted in the litigation as a result of the entry of Final Judgment. The
   3   Court will retain jurisdiction with respect to the implementation and enforcement
   4   of the Settlement’s terms, and all parties agree to submit to the Court’s jurisdiction
   5   for purposes of implementing and enforcing the Settlement.
   6   IV.   ARGUMENT
   7         A.     General Final Approval Standards
   8         The law favors settlement, particularly in class actions and complex cases
   9   where substantial resources can be conserved by avoiding the costs and rigors of
  10   prolonged litigations. See Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th
  11   Cir. 1976);Officers for Justice v. Civil Service Comm’n of the City and County of
  12   San Francisco, 688 F.2d 615, 625 (9th Cir. 1982) (“voluntary conciliation and
  13   settlement are the preferred means of dispute resolution.”); ALBA CONTE &
  14   HERBERT NEWBERG, NEWBERG         ON   CLASS ACTIONS § 11.41 (4th ed. 2002) (“by
  15   their very nature, because of the uncertainties of outcome, difficulties of proof,
  16   length of litigation, class action suits lend themselves readily to compromise”).
  17         A proposed class action settlement may be approved if, after allowing absent
  18   class members opportunity to be heard, the Court finds the settlement is “fair,
  19   reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). When assessing a settlement:
  20                the court’s intrusion upon what is otherwise a private consensual
                    agreement negotiated between the parties to a lawsuit must be limited
  21                to the extent necessary to reach a reasoned judgment the agreement is
                    not the product of fraud or overreaching by, or collusion between, the
  22                negotiating parties, and the settlement, taken as a whole, is fair,
                    reasonable and adequate to all concerned.
  23
  24   Rodriguez v. West Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009) (quoting
  25   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998)).
  26         The Ninth Circuit has held the determination necessarily involves balancing
  27   several factors which may include, among others, some or all of the following:
                    (1) the strength of the plaintiff’s case; (2) the risk, expense,
  28                complexity and likely duration of further litigation; (3) the risk of
                                                 7
Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 14 of 28 Page ID
                                   #:2259


                    maintaining class action status throughout the trial; (4) the amount
   1                offered in settlement; (5) the extent of discovery completed, and the
                    stage of the proceedings; (6) the experience and views of counsel; (7)
   2                the presence of a government participant; and (8) the reaction of the
                    class members to the proposed settlement.
   3
       In re Bluetooth Headset Products Liab. Litig.,654 F.3d 935, 946 (9th Cir. 2011)
   4
       (citing Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir.2004)).
   5
             The Ninth Circuit, however, also limits district court inquiries as follows:
   6
   7         the settlement or fairness hearing is not to be turned into a trial or
             rehearsal for trial on the merits. Neither the trial court nor this court is
   8         to reach any ultimate conclusions on the contested issues of fact and
   9         law which underlie the merits of the dispute, for it is the very
             uncertainty of outcome in litigation and avoidance of wasteful and
  10         expensive litigation that induce consensual settlements. The proposed
  11         settlement is not to be judged against a hypothetical or speculative
             measure of what might have been achieved by the negotiators.
  12
       Officers for Justice, 688 F.2d at 625 (citations omitted, emphasis in original).6
  13
             B.     The Settlement is Fair, Reasonable and Adequate
  14                1.    Counsel Fairly and Honestly Negotiated the Settlement
  15         In evaluating the propriety of a proposed settlement, courts often look to
  16   settlement’s negotiating process to determine whether that process was genuinely
  17   adversarial. See Weinberger v. Kendrick, 698 F.2d 61, 74 (2d Cir. 1982). A
  18   settlement’s fairness depends in part on “whether the settlement was achieved
  19   through ‘arm’s-length negotiations’ by counsel who have the experience and
  20   ability…necessary to effectively represent the class’ interest.”         In re Warner
  21   Communications Sec. Litig., 618 F. Supp. 735, 741 (S.D.N.Y. 1985). Typically, an
  22   initial presumption a proposed settlement is fair and reasonable exists when it
  23   came from arm’s-length negotiations between counsel. See ALBA CONTE &
  24   HERBERT NEWBERG, NEWBERG ON CLASS ACTIONS § 11.40 at 451 (2d ed. 1985).
  25
  26         6
               Class members need not obtain all that they may have desired or hoped, or
  27   even what they might be entitled to if the case were fully litigated. “[T]he inherent
       nature of a compromise is to give up certain rights or benefits in return for others.”
  28   McDonald v. Chicago Milwaukee Corp., 565 F.2d 416, 429 (7th Cir. 1977).

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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 15 of 28 Page ID
                                   #:2260



   1          The Settlement is the result of such arm’s length negotiations by experienced
   2   counsel through the use of a respected mediator. (See Fields Decl. ¶¶ 3-8,15, Ex.
   3   A) Although Neiman agreed not to oppose K&P’s request of not more than 30%
   4   of the common fund, the Settlement Agreement also provides it is not conditioned
   5   in any way on the Court’s approval of attorney’s fees and costs. (D.E. 111-3 at §
   6   3.3)
   7          Because the Gross Settlement Amount does not revert to Neiman regardless
   8   of Court-awarded fees, Neiman had no real interest in supporting or opposing
   9   K&P’s fees and costs request. During settlement discussions, the Gross Settlement
  10   Amount was agreed to prior to any discussion of attorney’s fees, and the inclusion
  11   of the provision allowing K&P to request up to 30% of the Gross Settlement
  12   Amount in fees without opposition was primarily intended to cap any potential fee
  13   request. (Fields Decl., ¶ 16)
  14                2.     The Parties Negotiated with Full Knowledge of the
  15                       Strengths and Weaknesses of the Case
  16          “‘[T]he stage of the proceedings and the amount of discovery completed’” is
  17   a factor courts consider in determining whether the settlement is fair, reasonable
  18   and adequate. In re Warner Comm’s Sec. Litig., 618 F. Supp. 735, 741 (S.D.N.Y.
  19   1985), quotingCity of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974).
  20   The Parties completed significant discovery, including written discovery,
  21   production and review of documents, and substantial deposition discovery of both
  22   fact witnesses as well as experts. (See Supra, at 3:11-4:15) Finally, the Parties
  23   fully briefed class certification, which was pending for hearing before this Court at
  24   the time settlement was reached.
  25          The Parties’ legal and factual positions had been extensively briefed during
  26   the motions to dismiss, appeal, and fully-briefed class certification motion. The
  27   Parties also submitted mediation briefs to the Mediator setting forth further
  28   analysis of their legal positions. During settlement discussions, the Parties also
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 16 of 28 Page ID
                                   #:2261



   1   asserted those arguments favoring their respective cases, which they would
   2   assuredly have pursued at trial. (See Fields Decl., ¶ 15) Given the discovery
   3   conducted and frank exchange of views at mediation, Class Counsel believed
   4   “[t]he parties certainly [had] a clear view of the strengths and weaknesses of their
   5   cases.”Warner Comm's, 618 F. Supp. at 745; Rodriguez, 563 F.3d at 967.
   6                3.     Strength of Plaintiff’s Case
   7         Neiman has raised, and would continue to raise, challenges to the claims’
   8   legal and factual bases. Neiman has contended, among other things, Plaintiff
   9   cannot meet her burden to certify a class, because, according to it, reliance and
  10   alleged deception      are   not   common        issues, and   require individualized
  11   determinations. Separately, Neiman has contended Plaintiff cannot prove
  12   individual or classwide damages, and that it will prevail on summary judgment
  13   against Plaintiff’s claims on that basis.
  14         Although Plaintiff continues to believe in her claims, Plaintiff acknowledges
  15   risks associated with class certification, and also risks of losing on the merits. The
  16   most significant risk is a Court may reject Plaintiffs’ damages models, individual
  17   or classwide, as has happened in other cases. The Parties differ as to Plaintiff’s
  18   likelihood of ultimately prevailing after judgment and appeal; however, it is
  19   apparent the proposed class had very significant risks in continuing to litigate the
  20   action.
  21         By contrast, the proposed Settlement immediately provides the certainty of
  22   valuable benefit to proposed Settlement Class Members. The proposed Settlement
  23   offers all proposed Settlement Class Members a portion of the price of items they
  24   purchased advertised as having a “Compared to” price. If the case is not settled, it
  25   would necessitate continuing to prosecute the litigation through class certification,
  26   trial and, even if successful there, through an almost certain appeal. Even if
  27   Plaintiff eventually succeeds, there is still the certainty that if the case proceeds in
  28   litigation, any benefits to the proposed class would be delayed for many years.
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 17 of 28 Page ID
                                   #:2262



   1          The Settlement Agreement, like all settlements, strikes a balance between
   2   the maximum possible recovery the proposed Settlement Class might obtain by
   3   pursuing litigation to the very end, and the risk of failing to obtain any recovery
   4   should Neiman prevail. In determining whether the terms of the Settlement
   5   Agreement are sufficiently fair, reasonable, and adequate, the Court need only
   6   inquire whether the consideration provided to the proposed Settlement Class as the
   7   Gross Settlement Amount and the injunctive relief falls within a reasonable
   8   settlement range by “considering the likelihood of a plaintiffs’ or defense verdict,
   9   the potential recovery, and the chances of obtaining it, discounted to present
  10   value.” Rodriguez, 563 F.3d at 965, citing Manual for Complex Litigation (Fourth)
  11   § 21.62. The answer is most certainly “yes.”
  12                4.     The Risk of Maintaining a Class Action Throughout Trial
  13         Although the Court did not rule on the class certification motion, it was fully
  14   briefed and taken under submission at the time of the settlement. Neiman
  15   vigorously disputed certification of any class was appropriate. Plaintiff believes
  16   she would have been able to certify a class, but even if Plaintiff was ultimately
  17   successful, a district court may decertify a class at any time. See Rodriguez, 563
  18   F.3d at 966 (citing Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982)). In
  19   negotiating the Settlement, Plaintiff took into account the class certification
  20   uncertainty and believes in light of the risks, the Settlement is fair, reasonable, and
  21   adequate. (D.E. 116-6, Rubenstein Decl., ¶¶ 14-17; Fields Decl., ¶¶ 17-22)
  22                5.     The Value of Immediate Recovery Outweighs the Mere
  23                       Possibility of Future Relief
  24         “In most situations, unless the settlement is clearly inadequate, its
  25   acceptance and approval are preferable to lengthy and expensive litigation with
  26   uncertain results.” Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D.
  27   523, 526 (C.D. Cal. 2004) (quoting A CONTE & H. NEWBERG, NEWBERG ON CLASS
  28   ACTIONS, § 11:50 at 155 (4th ed. 2002)). Courts consider “the vagaries of litigation
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 18 of 28 Page ID
                                   #:2263



   1   and compare the significance of immediate recovery by way of the compromise to
   2   the mere possibility of relief in the future, after protracted and expensive
   3   litigation.”   Nat’l Rural Telecomms. Coop., 221 F.R.D. at 526 (quoting
   4   Oppenlander v. Standard Oil Co., 64 F.R.D. 597, 624 (D.Colo. 1974)).
   5          The Gross Settlement Amount of $2,900,000 in cash now substantially
   6   outweighs the mere possibility of potentially larger future relief, particularly when
   7   weighed against the possibility of a smaller recovery or no recovery at all. The
   8   proposed Settlement, while offering substantial consideration and injunctive relief,
   9   does not provide Plaintiff and the Settlement Class the full measure of relief that
  10   would be sought at trial. On the other hand, the Settlement provides Plaintiff and
  11   the Settlement Class with far more than Defendant would have been willing to
  12   offer absent the vigorous prosecution of the claims to date.
  13          In determining whether the amount of the settlement is fair, the Ninth Circuit
  14   has suggested the Court should compare the settlement amount to the parties’
  15   “estimates of the maximum amount of damages recoverable in a successful
  16   litigation.” In re Mego Financial Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir.
  17   2000). Plaintiff believes a particularly straightforward and appropriate method for
  18   calculating damages involves a purchase price refund minus depreciation model.
  19   (Fields Decl., ¶ 17) Based on the purchase price refund minus depreciation model,
  20   and given the class period length, Plaintiff calculated an absolute best case scenario
  21   recovery (100%) of class-wide damages obtained at trial for putative class
  22   members could possibly amount to as much as $120 million. This model, however,
  23   would require the return of the purchased product to Neiman, an onerous
  24   undertaking unlikely to be successful in practice. Without such product return, the
  25   dollar amount for damages would be just a fraction of that $120 million. Under the
  26   Settlement, however, Class Members are entitled to retain their purchases,
  27   therefore significantly discounting the additional benefit potentially received at
  28   trial by the Class Members of even this calculation. (Id.)
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 19 of 28 Page ID
                                   #:2264



   1         According to Neiman, however, the best-case scenario Plaintiff presents
   2   above is drastically inflated, because it contends no damages exist at all. Neiman
   3   contends applicable damages, if any, could only be determined from the price
   4   Plaintiff and putative class members paid for Last Call products measured against
   5   the value they received. However, Neiman contends this proposed calculation
   6   results in zero dollars in damages because Last Call customers chose to purchase
   7   the “Compared to” items precisely at the prices paid. Given other results on this
   8   issue in similar cases in this Circuit, a reasonable likelihood exists Neiman could
   9   prevail on its damages defenses, and Plaintiff would neither recover any damages
  10   nor certify a damages class. See, e.g. Caldera v. J.M. Smucker Co., 2014 WL
  11   1477400, at *4 (C.D. Cal. Apr. 15, 2014) (rejecting damages model, stating “the
  12   true value of the products to consumers likely varies depending on individual
  13   consumer’s motivation for purchasing the products at issue.”);Russel v. Kohl’s
  14   Dep’t Stores, Inc., 2015 WL 12748629, at *6-7 (C.D. Cal. Dec. 4, 2015) (declining
  15   to certify monetary damages class).
  16         Although Plaintiff contends she and members of the putative class have been
  17   deceived and are entitled to a full refund of the purchase price were the action to be
  18   litigated, Plaintiff acknowledges it is unlikely such a damages model would be
  19   adopted given the proffered defenses. Thus, in the settlement context Plaintiff
  20   believes a realistic, conservative method for evaluating damages is but a fraction of
  21   the purchase price refund minus depreciation model. Neiman’s contention that the
  22   value Last Call purchasers receive is essentially the same to the products’ purchase
  23   prices also makes estimating the appropriate value of any discount difficult from
  24   Plaintiff’s perspective. Considering no Settlement Class Members has to return
  25   items purchased under the proposed settlement, each retains whatever value the
  26   products have or had in addition to the value obtained through this settlement.
  27   Lastly, given the experience with other class action litigation, only a small
  28   percentage of Class Members were anticipated to claim the value offered even
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 20 of 28 Page ID
                                   #:2265



   1   were the case to have proceeded to trial, as is typical in these types of settlements
   2   (and has proven to be true during the claims process for this settlement).
   3   (Oxenreiter Decl., ¶ 28) The $2,900,000 Gross Settlement Amount constitutes
   4   valuable consideration and is fair and reasonable given the risks of further
   5   litigation and the potential damages recovery at trial. Additionally, Neiman agreed
   6   to substantial injunctive relief including changes in practice and robust disclosures,
   7   which provides significant additional relief that may not have been obtainable at
   8   trial. (See Crisci Decl.; Settlement Agreement §4)
   9         “The expense and possible duration of the litigation should be considered in
  10   evaluating the reasonableness of a settlement.”        Mego, 213 F.3d at 458; See
  11   Hanlon, 150 F.3d at 1026. The additional and substantial expense incurred if this
  12   case were litigated further would most assuredly reduce the Settlement Class’s net
  13   recovery. Moreover, delay, not just at the trial stage, but through post-trial motions
  14   and the appellate process, could cause Settlement Class members to wait years for
  15   any recovery, further reducing the value of any potential recovery. Even had
  16   Plaintiff prevailed at class certification, summary judgment, and trial, Neiman
  17   would likely have appealed any decision. Thus, had litigation continued, any
  18   recovery would have been many years away.
  19                6.     The Amount Offered in Settlement
  20         In assessing the consideration class members obtained in a class action
  21   settlement, “[i]t is the complete package taken as a whole, rather than the
  22   individual component parts, that must be examined for overall fairness.” Officers
  23   for Justice, 688 F.2d at 628. A proposed settlement may be acceptable even though
  24   it amounts to only a fraction of the potential recovery to the class at trial. Linney v.
  25   Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir. 1998).
  26          Given the inherent risks of litigation, the Settlement is certainly adequate
  27   and provides a substantial recovery to each Settlement Class Member. The Net
  28   Settlement Fund, which cannot be less than $1,592,425.59, will provide each
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 21 of 28 Page ID
                                   #:2266



   1   Settlement Class Member a payment determined by a point system based on
   2   purchase prices, including tax, of the Qualifying Purchases made, and whether
   3   Proof of Purchase was provided. (See D.E. 111-3, Ex. A, §3.5 for detailed
   4   description of calculation methodology) Based on the point system calculation, the
   5   currently estimated recovery range for Settlement Class Members is from $77.50
   6   (for those with no proof of purchase) up to $775.00 (for those with $1400 or more
   7   in proof of purchase). (Fields Decl., ¶ 24) This is, by any standard, valuable
   8   consideration.
   9                7.     The Experience and Views of Counsel
  10         In assessing the adequacy of a settlement’s terms, the trial court is entitled to
  11   and should rely upon the judgment of experienced counsel for the parties. See Nat’l
  12   Rural Telecomms. Coop., 221 F.R.D. 523 at 528; In re Pacific Enters. Sec. Litig.,
  13   47 F.3d 373, 378 (9th Cir. 1995) (“[p]arties represented by competent counsel are
  14   better positioned than courts to produce a settlement that fairly reflects each party’s
  15   expected outcome in the litigation.”) When evaluating the proposed settlement, the
  16   trial court, absent fraud or collusion should be hesitant to substitute its own
  17   judgment for counsel’s. See Nat’l Rural Telecomms. Coop., at 528.
  18         Class Counsel’s experience suggests the Settlement is a strong result for the
  19   proposed Class and warrants the Court’s approval.7 Class Counsel’s support for
  20   the proposed settlement confers a presumption of correctness. See           Linney v.
  21   Cellular Alaska P’ship, C-96-3008 DLJ, 1997 WL 450064, *5 (N.D. Cal. July 18,
  22   1997), aff’d, 151 F.3d 1234 (9th Cir. 1998) (“involvement of experienced class
  23   action counsel and the fact [] the settlement agreement was reached in arm’s length
  24
             7
  25            Class Counsel are experienced class action litigators who have successfully
       litigated numerous complex consumer protection class action cases in the past.
  26   (See Fields Decl., ¶¶ 3-8, Ex. A) K&P is a full service law firm founded in 1932
       specializing in complex litigation, class action, and mass tort. The lead attorneys
  27   from the firm on this matter, Behram V. Parekh and Joshua A. Fields, personally
       brought broad class action litigation experience to the case. (Id.)
  28
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 22 of 28 Page ID
                                   #:2267



   1   negotiations, after relevant discovery had taken place create a presumption [] the
   2   agreement is fair.”); In re Orthopedic Bone Screw Prods. Liab.Litig., 176 F.R.D.
   3   158, 184 (E.D. Pa. 1997), quoting Austin v. Pa. Dep’t of Corrections, 876 F. Supp.
   4   1437, 1472 (E.D. Pa. 1995) (“Significant weight should be attributed ‘to the belief
   5   of experienced counsel that the settlement is in the best interests of the class.’”)
   6         Given Class Counsel’s experience, their opinion that the settlement is fair
   7   and adequate confers a presumption of correctness. See Rodriguez, 563 F.3d at
   8   965 (“This circuit has long deferred to the private consensual decision of the
   9   parties,” citing Hanlon, 150 F.3d at 1027). After weighing the risks and benefits
  10   associated with litigating this case further, Class Counsel reached the opinion the
  11   proposed settlement is in the Settlement Class’s best interests. (See Fields Decl., ¶¶
  12   17-22)     The Gross Settlement Amount of $2,900,000 and corresponding Net
  13   Settlement Fund of at least $1,592,425.59 represents substantial recovery for
  14   Settlement Class Members, particularly in light of Neiman’s proffered defenses on
  15   damages.
  16                8.       The Presence of a Governmental Participant
  17         The Ninth Circuit has acknowledged that where a class “does not have the
  18   benefit […] of previous litigation between the defendant[] and the government”
  19   and a number of “serious hurdles” remain that may prolong the litigation, this
  20   factor favors approval of the settlement. Rodriguez, 563 F.3d at 966. Here, no
  21   governmental agency had previous litigation against Defendant that may have
  22   benefitted the Settlement Class. This lawsuit was brought solely based on Class
  23   Counsel’s     and     Plaintiff’s   investigation.   (Rubenstein   Decl.,    ¶¶   3-11;
  24   Fields Decl., ¶ 11)
  25                9.       The Reaction of the Class
  26         Out of the more than 650,000 Settlement Class Members who received
  27   direct notice, and all Unknown Settlement Class Members who received
  28   Publication Notice, and over 10,000 claims received, only four requested
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 23 of 28 Page ID
                                   #:2268



   1   exclusion, and only one Settlement Class Member objected. (See Oxenreiter Decl.,
   2   ¶¶ 29, 30) Courts consistently find favorable reactions to settlements even when
   3   significantly more objections exist.8
   4         The sole objection Settlement Class Member Pauline Pomerance submitted
   5   is based on what appears to be a fundamental misunderstanding regarding the
   6   Settlement’s terms, and should be denied. (See Fields Decl., ¶ 23, Ex. B) Ms.
   7   Pomerance refers to the Settlement as a “scam settlement that most [c]onsumers
   8   will be unable to respond to” because it “asks that consumers prove their claim by
   9   submitting receipts for the last ten years!” (Id.) (Emphasis added) In fact, the
  10   Settlement Agreement contains no requirement that Settlement Class Members
  11   must submit receipts to make a claim; instead, it provides Settlement Class
  12   Members may make claims by simply declaring under penalty of perjury they
  13   made Qualifying Purchases. (D.E. 111-3 at pp. 4-5, defining “Proof of Purchase”)
  14   Upon preliminary review, the vast majority of claimants (over 7,000) made claims
  15   in this fashion, that is, without submitting receipts. (See Fields Decl., ¶ 24) If a
  16   Settlement Class Member did submit receipts or other qualifying Proof of Purchase
  17   with their claim (such as a credit card statement, which may be relatively easily
  18   obtained), their settlement recovery’s value was significantly enhanced, per the
  19   Settlement Agreement. (D.E. 111-3, Ex. A, §3.5) No receipt requirement exists,
  20   and Ms. Pomerance’s contention that “[v]ery few people will be able to respond to
  21   this” settlement for that inaccurate reason is mistaken. (Fields Decl., ¶ 23, Ex. B)
  22         Ms. Pomerance’s objection is also based on an inaccurate reading of the
  23   Settlement Agreement’s attorney’s fees provision. Based on her inaccurate
  24   assertion receipts are required so “[v]ery few people will be able to respond…,”
  25   Ms. Pomerance incorrectly claims “thus most of the funds will go to the attorneys.
  26         8
               Rodriguez, 563 F.3d 967 (affirming class action settlement approval where
  27   there were 54 objections out of 376,301); Churchill Village, 361 F.3d at 577
       (affirming class action settlement approval where there were 45 objections out of
  28   90,000).

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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 24 of 28 Page ID
                                   #:2269



   1   Thus, the only people who will benefit from this will be the attorneys.” (Id.) As
   2   the Settlement Agreement (D.E. 111-3), Notice, and Plaintiff’s Motion for
   3   Attorney’s Fees (D.E. 116) all make clear, however, Class Counsel seek their fee
   4   recovery under the percentage-of-the-fund method (30% in this instance). Thus,
   5   the number of Settlement Class Members making valid claims has no effect on the
   6   attorney’s fees Class Counsel may obtain, as Ms. Pomerance mistakenly contends.
   7         Further, Ms. Pomerance’s concerns about the claims process, which she
   8   believes was concocted to “substantially reduce eligible class members,” have
   9   actually not come to fruition. (Fields Decl., ¶ 23, Ex. B) Ms. Pomerance suggests a
  10   hypothetical wherein “only 100 class members respond”. (Id.) In fact, more than
  11   10,000 Claim Forms were submitted, demonstrating unequivocally Ms.
  12   Pomerance’s concerns did not come true. This renders Ms. Pomerance’s concern
  13   that the “proposed settlement has no method for dealing with a small number of
  14   class members who submit claims” inapplicable under the actual circumstances of
  15   the claim process. (Id.)
  16         Ms. Pomerance’s last complaint in the objection about the value of the
  17   Settlement to Participating Settlement Class Members is also misguided and
  18   actually supports the Court’s final approval of the Settlement. Ms. Pomerance
  19   complains that “[a] much better settlement would be if you send all class members
  20   a gift certificate for $100 off their next purchase.” Ms. Pomerance elaborates that
  21   “Class members will surely use that, since they have obviously shopped at
  22   Neiman’s before, and $100 is a real benefit.” (Id.) (Emphasis added) The claims
  23   review process is ongoing, but while the exact final number of valid claims cannot
  24   be presently determined, a current estimate, albeit subject to change, is that based
  25   on the point allocation system, the range of cash recoveries for Settlement Class
  26   Members will be between an estimated $77.50 and $775.00, depending on the
  27   number of calculated for a particular claimant. (Fields Decl., ¶24)          These
  28   recoveries are in line and in many instances will be significantly greater than the
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 25 of 28 Page ID
                                   #:2270



   1   $100 “real benefit” Ms. Pomerance’s objection proposed. (Fields Decl., ¶ 23, Ex.
   2   B) Further, while Ms. Pomerance assumes Settlement Class Members would
   3   happily spend a $100 gift certificate at Neiman, a reasonable inference is most if
   4   not all Settlement Class Members would prefer cash, to spend anywhere, rather
   5   than being solely limited to Neiman.
   6                10.   Review For Collusion Or Other Conflicts Of Interest
   7         When a proposed settlement is negotiated prior to class certification, the
   8   Ninth Circuit has emphasized the district court should also scrutinize the settlement
   9   for subtle signs of collusion or conflicts of interest. In re Bluetooth, 654 F.3d 935
  10   at 946; see also Dennis v. Kellogg Co., 697 F.3d 858, 864 (9th Cir. 2012). The
  11   Ninth Circuit has indicated the following signs may indicate that class counsel may
  12   have allowed pursuit of their own self-interests to infect negotiations:
  13         (1) when counsel receive a disproportionate distribution of the settlement, or
                 when the class receives no monetary distribution but class counsel are
  14             amply rewarded;
             (2) when the parties negotiate a “clear sailing” arrangement providing for
  15             payment of attorneys’ fees separate and apart from class funds; or
             (3) when the parties arrange for fees not awarded to revert to defendants
  16             rather than be added to the class fund.
  17   In re Bluetooth, 654 F.3d at 947. None of those signs are present here. Class
  18   Counsel will be paid from the same Gross Settlement Amount as Settlement Class
  19   Members, and so had every reason to negotiate the largest fund possible, and their
  20   fee will be determined by the Court. Class Counsel do not seek a disproportionate
  21   distribution – the fee application is limited to 30% of the fund (plus expenses),
  22   which is within the typical range for attorney’s fee awards in the Ninth Circuit. See
  23   Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002), citing Paul,
  24   Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989). Any portion
  25   of the requested fee not awarded to Class Counsel will remain part of the Net
  26   Settlement Fund, and will not revert to Defendant. (See D.E. 111-3, Ex. A, at §3.5)
  27          Further, given the extensive litigation conducted to date, including the
  28   Ninth Circuit appeal, both sides demonstrated by their actions they were prepared
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 26 of 28 Page ID
                                   #:2271



   1   to litigate this case through final judgment, if no acceptable resolution could be
   2   reached. In short, there can be no question of any collusion. Settlement
   3   negotiations were a long, drawn out process over months, utilizing the Mediator’s
   4   expertise. See Satchell v. Fed. Exp. Corp., No. C 03-2659 SI, 2007 WL 1114010,
   5   at *4 (N.D. Cal. Apr. 13, 2007) (“The assistance of an experienced mediator in the
   6   settlement process confirms that the settlement is non-collusive.”)
   7                11.   Review Of Potential Cy Pres Distribution
   8         The Settlement Agreement provides for a Cy Pres distribution only of any
   9   residual sum of any settlement checks not cashed within 90 days of the issuance
  10   date to the charity designated by the Parties: Public Counsel. (See D.E. 111-3, Ex.
  11   A, at §3.5) The Parties believe this will be an insignificant portion of the Gross
  12   Settlement Amount. However, the Court must inquire “whether the distribution of
  13   the approved class settlement complies with [Ninth Circuit] standards governing cy
  14   pres awards.” Nachshin v. AOL, LLC, 663 F.3d 1034, 1040 (9th Cir. 2011);
  15   Dennis, 697 F.3d at 865. The Ninth Circuit has held that any cy pres must be
  16   “‘guided by (1) the objectives of the underlying statute(s) and (2) the interests of
  17   the silent class members, and (3) must not benefit a group ‘too remote from the
  18   plaintiff class.’” Dennis, 697 F.3d at 865, quoting Nachshin, 663 F.3d at 1039.
  19   Here, the Parties’ proposed cy pres recipient meets all three Ninth Circuit criteria.
  20   Dennis, 697 F.3d at 865. Public Counsel provides legal services to underserved
  21   communities. http://www.publiccounsel.org/about_us?id=0001 (last visited August
  22   30, 2018). Its Consumer Law Project focuses on consumer protection. See
  23   http://www.publiccounsel.org/practice_areas/consumer_law (last visited August
  24   30, 2018).
  25   V.    CONCLUSION
  26         Plaintiff respectfully requests the Court approve the proposed Settlement as
  27   fair, reasonable and adequate and enter final judgment in the case.
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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 27 of 28 Page ID
                                   #:2272



   1   Dated: August 31, 2018       Respectfully Submitted,

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Case 2:14-cv-07155-SJO-JPR Document 117-1 Filed 08/31/18 Page 28 of 28 Page ID
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